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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                                           )
                                                  )
 DERRICK J. MARTIN, JR.                           )    Case No. 18-14487-KHT
 SSN: XX-XXX-1032                                 )
                                                  )    Chapter 7
 Debtor.                                          )
                                                  )
 DAVID V. WADSWORTH, Chapter 7                    )
 Trustee                                          )
                                                  )
 Plaintiff,                                       )    Ad. Pro. No.: 18-01413 KHT
                                                  )
 v.                                               )
                                                  )
 TWO RINGS PROPERTY                               )
 MANAGEMENT, LLC, a Colorado                      )
 Limited Liability Company                        )
                                                  )
 Defendant.                                       )
                                                  )

                               MOTION FOR EXTENSION OF TIME


        COMES NOW, TWO RINGS PROPERTY MANAGEMENT, LLC, by and through its
attorney of record, Robert V. Salter, and respectfully requests this court grant an extension of
time in which to file a Response to Plaintiff’s Motion for Summary Judgment/Motion for
Judgment on the Pleadings [Docket No. 12] of DAVID V. WADSWORTH., and in support
thereof, states as follows:

          1. Defendant is an entity owned by the spouse of debtor Derrick J. Martin, Jr who filed a
             voluntary petition for Chapter 7 relief of the Bankruptcy Code on May 23, 2018.

          2. David V. Wadsworth filed an adversary proceeding against Defendant on December
             5, 2018, at that time, Defendant was represented by Lawrence R. Hill of Allstate Law
             Center, P.C.

          3. Subsequently, Lawrence R. Hill was suspended from the practice of law by the
             Colorado Supreme Court for a period of 6 (six) months and began serving the
             suspension on April 19, 2019.
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      4. On April 22, 2019, Lawrence R. Hill resigned his position at Allstate Law Center, PC
         without having completed a motion to substitute counsel in this matter.

      5. A significant number of cases were in Lawrence R. Hill’s name and significant effort
         has gone into submitting motions to substitute counsel. The motion to substitute
         counsel in this matter has been submitted concurrently with this motion.

      6. The undersigned requires additional time in which to respond to Plaintiff’s motion for
         Summary Judgment/Judgment on the Pleadings due to his recent appointment on the
         matter.

      7. Defendant requests an additional fourteen days (14) days in which to file a response,
         and will submit same on or before June 14, 2019.

      8. Counsel for Defendant attempted to contact Plaintiff’s counsel, Mr. Miller, to discuss
         an extension of time for Defendant to file a response, however, counsel for Defendant
         was unable to reach Mr. Miller. Mr. Miller’s voicemail stated that he would be out of
         the office May 27, 2019 through June 3, 2019.

RESPECTFULLY SUBMITTED this 30th day of May, 2019.

                                                  /s/ Robert V. Salter

                                                  Allstate Law Center, P.C.
                                                  ROBERT V. SALTER Reg.:36820
                                                  12835 E. Arapahoe Rd., Tower I – Suite 200
                                                  Centennial, Colorado 80112
                                                  (720) 386-6025/ Fax No.: (303) 583-9043
                                                  E-mail: roberts@allstatelawcenter.com
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                             CERTIFICATE OF SERVICE

The undersigned hereby certifies that true and correct copies of Defendant’s MOTION TO
EXTEND TIME AND PROPOSED ORDER were delivered this 30th day of May, 2019, as
follows:

David V. Wadsworth, II
Chapter 7 Trustee
2580 W. Main St.
Littleton, CO 80120
[via ECF filing]

David M. Miller
Spencer Fane LLP
1700 Lincoln St., #2000
Denver, CO 80203
[via ECF filing]

U.S. Trustee
Byron G. Rogers Federal Building
1961 Stout St., #12-200
Denver, CO 80294-1961
[via ECF filing]


DATED: 12/27/2018                                            \s\ Robert V. Salter_____
